                    IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF ALABAMA
                               NORTHERN DIVISION

 In re: John Stoddart                        )      Case No.: 19-80272-CRJ-11
        SSN: xxx-xx-7747                     )
                                             )
        Helen Powell-Stoddart                )
        SSN: xxx-xx-0479                     )
                                             )
               Debtors.                      )      Chapter 11


                DEBTORS NOTICE OF AMENDMENT OF SCHEDULES

         COMES NOW the Debtors in the above styled matter and hereby files amended
 Schedule D consisting of 4 pages, by substituting the attached amended schedule for those
 originally filed, pursuant to Fed. R. Bankruptcy P. 1009. The specific changes are as follows:

        Schedule D has been modified
 -to show amended value of the property located at 3127 Haddonstone Drive SE, Owens Cross
 Roads, AL 35763.
 -to show amended value of the 2011 Ford Edge.


                                                 /s/Tazewell T. Shepard_________________
                                                 Tazewell T. Shepard

                                                 SPARKMAN, SHEPARD & MORRIS, P.C.
                                                 P.O. Box 19045
                                                 Huntsville, AL 35804
                                                 Tel: (256) 512-9924
                                                 Fax: (256) 512-9938



 I DECLARE UNDER PENALTY OF PERJURY THAT THE ATTACHED AMENDED
 SCHEDULES ARE TRUE AND CORRECT TO THE BEST OF MY KNOWLEDGE,
 INFORMATION AND BELIEF.

 Dated: February 13, 2019                    /s/ John Stoddart
                                             John Stoddart


 Dated: February 13, 2019                    /s/ Helen Powell-Stoddart
                                             Helen Powell-Stoddart




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                                 CERTIFICATE OF SERVICE

         This is to certify that I have this 13th day of February, 2019 served the foregoing upon all
 listed creditors found on the attached Clerk’s Certified Matrix; upon all those persons requesting
 notice in this case, and upon the following listed persons by electronic service through the
 Court’s CM/ECF system and/or by depositing said copies in the U. S. Mail in properly addressed
 envelopes with adequate postage thereon:

        Richard Blythe, Esquire
        Office of the Bankruptcy Administrator
        P. O. Box 3045
        Decatur, AL 35602

                                                      /s/Tazewell T. Shepard
                                                      Tazewell Shepard




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 Fill in this information to identify your case:

 Debtor 1                   John Stoddart
                            First Name                      Middle Name                      Last Name

 Debtor 2                   Helen Powell-Stoddart
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF ALABAMA

 Case number           19-80272
 (if known)
                                                                                                                                                  Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                 Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral      Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this       portion
                                                                                                            value of collateral.   claim                    If any
 2.1     BBVA Compass                             Describe the property that secures the claim:             $1,080,000.00            $1,000,000.00            $80,000.00
         Creditor's Name                          3127 Haddonstone Drive SE Owens
                                                  Cross Roads, AL 35763
                                                  As of the date you file, the claim is: Check all that
         114 Govenors Drive SE                    apply.
         Huntsville, AL 35801                         Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)

       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)   First Mortgage
       community debt

 Date debt was incurred          04/2008                   Last 4 digits of account number        1922

 2.2     Iberia Bank                              Describe the property that secures the claim:               $199,300.00            $1,000,000.00           $199,300.00
         Creditor's Name                          3127 Haddonstone Drive SE Owens
         4700 Whitesburg Drive                    Cross Roads, AL 35763
         SW
                                                  As of the date you file, the claim is: Check all that
         Suite 150                                apply.
         Huntsville, AL 35802                         Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)

       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)   Second Mortgage (HELOC)
       community debt

 Date debt was incurred          03/2011                   Last 4 digits of account number


Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                       page 1 of 2
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 Debtor 1 John Stoddart                                                                                       Case number (if known)   19-80272
               First Name                  Middle Name                      Last Name
 Debtor 2 Helen Powell-Stoddart
               First Name                  Middle Name                      Last Name




 2.3     SunTrust Bank                              Describe the property that secures the claim:                      $6,182.00          $6,000.00          $182.00
         Creditor's Name                            2011 Ford Edge

                                                    As of the date you file, the claim is: Check all that
         P.O. Box 791144                            apply.
         Baltimore, MD 21279                             Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Auto Loan
       community debt

 Date debt was incurred          12/2013                     Last 4 digits of account number         3753


   Add the dollar value of your entries in Column A on this page. Write that number here:                                 $1,285,482.00
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                                $1,285,482.00

 Part 2:     List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 2 of 2
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